
ORDER
Considering the foregoing Petition for Interim Suspension Pursuant to Supreme Court Rule XIX, § 19:
IT IS ORDERED, ADJUDGED AND DECREED that respondent, William B. Lynch, attorney at law, be and he is suspended from the practice of law pursuant to Rule XIX, § 19, pending further orders of this court.
IT IS FURTHER ORDERED that necessary disciplinary proceedings be instituted in accordance with Rule XIX, § 11 and 19.
/s/ Pascal F. Calogero, Jr.
Justice,
Supreme Court of Louisiana
LEMMON, J. not on panel.
Rule IV, Part 2, § 3.
